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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

WYLIE S. ROGERS, individually, and on            )
behalf of all others similarly situated,         )     Case No. 1:19-cv-02596
                                                 )
       Plaintiff,                                )     Honorable Rubén Castillo, Chief Judge
                                                 )
               v.
                                                 )
WELLS FARGO BANK, N.A.,                          )
                                                 )
       Defendant.                                )

                       MEMORANDUM OF LAW IN SUPPORT OF
                    DEFENDANT’S MOTION TO DISMISS COMPLAINT

       The Court’s reasoning in Freedom v. Citifinancial, LLC compels the dismissal of this

action. In Freedom, the Court observed that a permissible purpose to review a consumer’s

mortgage account under the Fair Credit Reporting Act (“FCRA”) exists at least until the time at

which legal title to the property was transferred away from the consumer. 2016 WL 4060510, at

*8 (N.D. Ill. Jul. 25, 2016) (Castillo, J.). In this case, plaintiff complains of an account review

that occurred in September 2017. But at that time, plaintiff still held legal title to the property

that was subject to Wells Fargo’s mortgage. Thus, plaintiff cannot sustain a claim for either

negligent or willful violation of FCRA.

       Plaintiff’s claim for willful violation of FCRA fails for an additional reason.          The

Supreme Court’s ruling in Safeco Insurance Co. v. Burr, as applied by the Seventh Circuit in

Van Straaten v. Shell Oil Products Co., established the objective three-part test for determining

whether plaintiff can sustain a claim for recklessness. Under that test there is no recklessness as

a matter of law where neither (1) the plain language of the statute, nor (2) binding regulation, nor

(3) binding court of appeals decisions prohibits the challenged act. See 551 U.S. 47, 67-70
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(2007); 678 F.3d 486, 490-91 (7th Cir. 2012). Nothing in the statute, or the regulations, or

appellate case law prohibits an account review when the consumer retains legal title to the

property secured by the account. Thus, as a matter of law, Wells Fargo did not act “recklessly”

in conducting the subject account review.

                                  FACTUAL BACKGROUND

         Plaintiff obtained a mortgage loan from Wells Fargo in 2004 secured by property in

Chicago. Compl. ¶¶ 2, 10. Plaintiff filed a chapter 13 bankruptcy petition in 2016. Id. ¶ 11.

The petition listed the mortgage loan as a secured debt owed to Wells Fargo. Id. ¶ 12. On

August 18, 2016, Wells Fargo obtained relief from the automatic bankruptcy stay “to permit

[Wells Fargo] to pursue all non bankruptcy remedies and work out options as to the property.”

See Declaration of Gregory N. Blase (hereinafter, “Blase Decl.”), Ex. 1. Wells Fargo filed a

judicial foreclosure action on November 2, 2016, to begin the process of recovering legal title to

the property.1 See Blase Decl., Ex. 2.

         The bankruptcy court’s subsequent plan confirmation and discharge order did not transfer

title to the property away from plaintiff, and it did not extinguish Wells Fargo’s mortgage lien.

See Blase Decl., Ex. 1; Compl ¶ 16.2 Rather, the order granting relief from stay removed Wells

Fargo’s lien interest from the bankruptcy proceeding.       See Blase Decl., Ex. 1.      And the

bankruptcy court’s August 2017 discharge order confirms this, where it states that:


1
    See Wells Fargo Bank, N.A. v. Wylie Rogers, No. 2016-CH-14348 (Cook County Cir. Ct.).
2
  The Court may take judicial notice of the exhibits attached to the Blase Declaration because
they are self-authenticating, publicly-available records referenced in the Complaint. See
Williamson v. Curran, 714 F.3d 432, 436 (7th Cir. 2013); Ennenga v. Starns, 677 F.3d 766, 773
(7th Cir. 2012); accord Haddad v. Am. Home Mortg. Servicing, Inc., 2019 WL 1425835, at *2
(N.D. Ill. Mar. 29, 2019) (taking judicial notice of state-court foreclosure records when
evaluating motion to dismiss); Goode v. PennyMac Loan Servs., LLC, 2014 WL 6461689, at *3
(N.D. Ill. Nov. 18, 2014) (considering publicly-available documents at motion to dismiss,
including documents from the Recorder of Deeds and the state foreclosure action).


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       a creditor with a lien may enforce a claim against the debtors’ property subject to that lien
       unless the lien was avoided or eliminated. For example, a creditor may have the right to
       foreclose a home mortgage or repossess an automobile.

       This order does not prevent debtors from paying any debt voluntarily.

See Blase Decl., Ex. 3.

       On September 6, 2017, Wells Fargo allegedly conducted a review of plaintiff’s mortgage

account under 15 U.S.C. § 1681b(a)(3)(A). See Compl. ¶¶ 26, 34. As of the date of the subject

account review, plaintiff retained possessory rights and legal title to the property, subject to

Wells Fargo’s mortgage lien, because (1) the Cook County Circuit Court did not enter final

judgment confirming the foreclosure sale until more than a month later on October 13, 2017, and

(2) the post-confirmation sheriff’s deed, effecting the transfer of title, was not issued until

November 7, 2017, and not recorded until December 2017. See Blase Decl., Exs. 2, 4.

                             ARGUMENTS AND AUTHORITIES

I.     Standard of Review

       To survive a Rule 12(b)(6) motion to dismiss, a complaint must plead sufficient facts to

“state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

A claim only “has facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Iqbal, 556 U.S. at 678. But ‘[w]here a complaint pleads facts that are ‘merely consistent with’ a

defendant’s liability,” it “stops short of the line between possibility and plausibility of

‘entitlement to relief.’” Id. And the Court need not credit allegations that amount to nothing

more than “legal conclusion[s],” “naked assertion[s]” without “factual enhancement[s],”

“conclusory statement[s],” or implausible inferences. Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555, 557, 561 (2007); Iqbal, 556 U.S. at 678.




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II.     The Complaint fails to state a claim for negligent or willful violation of FCRA

        FCRA creates a permissible purpose to access a consumer’s credit file in connection with

the “review … of an account of the consumer.” 15 U.S.C. § 1681b(a)(3)(A). The Complaint

concedes the existence of plaintiff’s mortgage loan account with Wells Fargo, Compl. ¶ 10, and

on its face, the Complaint provides a legal basis for the alleged account review under Section

1681b(a)(3)(A). As a result, plaintiff’s claim hinges entirely on his assertion that the bankruptcy

discharge of his personal liability on the loan prohibited the subject account review. See Compl.

¶ 23. But plaintiff continued to hold possessory rights and legal title to the property at the time

of the subject account review, and thus his assertion is wrong as a matter of law.

        Specifically, under the Illinois Mortgage Foreclosure Law, plaintiff’s legal interest in the

property was not terminated until the state court had entered its order confirming the foreclosure

sale and the period for appealing that order had expired. 735 Ill. Comp. Stat. 5/15-1404; see also

EMC Mortg. Corp. v. Kemp, 982 N.E.2d 152, 154 (Ill. 2012) (foreclosure judgment is not final

until sale is confirmed).     Only after the expiration of the appeal period following the

confirmation of the sale may the court issue a foreclosure deed, the issuance and recording of

which transferred title to the property away from plaintiff. 735 Ill. Comp. Stat. 5/15-1409(a)-(b).

Here, the state court did not confirm the foreclosure sale until October 13, 2017, and the post-

confirmation sheriff’s deed, effecting the transfer of title, was not issued until November 7, 2017,

and was not recorded until December 2017. See Blase Decl., Exs. 2, 4. Thus, plaintiff lacks any

basis, much less a plausible one, to assert that his mortgage loan account had been terminated in

September 2017 when the subject account review occurred. Accordingly, plaintiff cannot sustain

his claim that Wells Fargo lacked a permissible purpose under FCRA Section 1681b(a)(3)(A) to

conduct the subject account review.




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       This Court’s reasoning in Freedom supports this conclusion. There, the plaintiff alleged

that the confirmation plan in his chapter 13 bankruptcy proceeding had disposed of both his

personal debt obligations and legal title to the subject property, which dispositions the Court

noted had actually occurred before the subject account review. Freedom, 2016 WL 4060510, at

*8. The Court reasoned that on those facts, the Freedom plaintiff had pleaded a plausible

assertion that his mortgage account no longer existed at the time of the subject account review.

       But here, plaintiff does not, and cannot, allege that the bankruptcy discharge proceeding

transferred legal title to his property away from him. Neither the bankruptcy court’s plan

confirmation nor its discharge order purported to transfer legal title to the property, and the relief

from the stay granted by the court to Wells Fargo confirmed as much. As the Court recognized,

under such circumstances:

       [T]he consumer must either make new arrangements with the lender to keep the property,
       return it to the lender or wait for it to be foreclosed upon. Thus, until the borrower fulfills
       his debt, he has a credit relationship in the form of an obligation to the lender, even after
       discharge.

Id. (quoting Germain v. Bank of Am., N.A., 2014 WL 5802018, at *5 (W.D. Wis. Nov. 7, 2014)).

Accordingly, unlike in Freedom, plaintiff here still had legal title to the property, and thus a

mortgage account with Wells Fargo, until well after the subject account review.

       Because he lacks a basis to allege that legal title to the property had transferred before the

subject account review, plaintiff’s claim appears to turn on his representation to the bankruptcy

court that he “intended” to surrender the property. This is nothing more than a red herring. At

all times prior to expiration of the appeal period following the state court’s confirmation of the

foreclosure sale and the recording of the post-foreclosure sheriff’s deed effecting transfer of title,

plaintiff retained the right to possess the property, to voluntarily pay the loan balance, and to

negotiate an alternative resolution with Wells Fargo. See Freedom, 2016 WL 4060510, at *8



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(quoting Germain, 2014 WL 5802018, at *5). Plaintiff’s “intentions” to surrender the property

are irrelevant to determining the legal status of his mortgage loan account and thus Wells Fargo’s

right to conduct a review under Section 1681b. See id. Rather, as explained above, because

plaintiff continued to have a mortgage account with Wells Fargo at the time of the subject

account review, he cannot state a claim for negligent or willful violation of FCRA, and the Court

should dismiss this action with prejudice.

III.     The Complaint fails to state a claim for willful violation of FCRA under the Safeco
         and Van Straaten objective test

         In Safeco, the United States Supreme Court held that a willful violation under FCRA

occurs only when a defendant acts in reckless disregard of a FCRA requirement. See 551 U.S. at

56-60, 68-70. But a company “does not act in reckless disregard” of FCRA unless its alleged

action “is not only a violation under a reasonable reading of the statute’s terms, but shows that

the company ran a risk of violating the law substantially greater than the risk associated with a

reading that was merely careless.” Id. at 69.

         Safeco ended once and for all the need to conduct a fact-based inquiry into a defendant’s

subjective intent when considering whether a challenged action was reckless. Rather, Safeco

instructs this Court to ask whether “the statutory text and relevant court and agency guidance

allow for more than one reasonable interpretation.” Id. at 69-70 & n.20; see also Vanamann v.

Nationstar Mortg., LLC, 735 Fed. Appx. 260, 262 (9th Cir. 2018) (ruling as a matter of law that

the review of a bankruptcy-discharged customer’s account cannot state a claim for willful

violation of FCRA). Where there is a “dearth of guidance” and “less-than-pellucid statutory

text,” the defendant that follows one available reading of the statute does not act in “reckless

disregard” of its requirements. Safeco, 551 U.S. at 69-70. As the Supreme Court opined, “it

would defy history and current thinking to treat a defendant who merely adopts one such



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interpretation as a knowing or reckless violator.” Id. at 70 n.20. Thus, even though the Supreme

Court found a technical violation of FCRA in Safeco, it declined to find a willful violation

because (1) the statute did not expressly bar the defendant’s conduct, (2) “no court of appeals

had spoken on the issue,” and (3) “no authoritative [i.e., binding] guidance [had] come from” a

regulatory body. See id.

       In Van Straaten, the Seventh Circuit applied Safeco’s focused inquiry and held that

willfulness under FCRA is “a question of law” such that “only a reading [of FCRA] that is

‘objectively unreasonable’ can be deemed a ‘willful’ violation.” 678 F.3d at 489-91. Thus, “the

statutory standard concerns objective reasonableness, not anyone’s state of mind.” Id. at 490-91

(emphasis in original).

       Because the Court is to determine willfulness as a matter of law, the Court can dispose of

that aspect of plaintiff’s claim under Rule 12(b)(6). See Tucker v. City of Chicago, 2016 WL

6568073, at *2 (N.D. Ill. Nov. 4, 2016); accord Twombly, 550 U.S. at 558 (holding dismissal

under Rule 12(b)(6) is proper “when the allegations in a complaint, however true, could not raise

a claim of entitlement to relief.”). This is because plaintiff does not and cannot plausibly allege

that the account review of a chapter 13 discharged debtor is expressly forbidden by the language

of the statute, or binding regulation, or appellate case law.

       First, under the express language of FCRA, a business has broad authority to access

consumer reports “in connection with a … review … of an account of[] the consumer.” 15

U.S.C. § 1681b(a)(3)(A). The statute does not supply a definition of the word “account,” and

thus its exact meaning “is far from pellucid” in that it does not clearly “distinguish between

closed and open accounts.” Levine v. World Fin. Network Nat’l Bank, 554 F.3d 1314, 1318-19

(11th Cir. 2009); see also Huertas v. Galaxy Asset Mgmt., 641 F.3d 28, 32, 34-35 (3d Cir. 2011)




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(affirming dismissal of claim for violation of Section 1681b); Wilting v. Progressive County Mut.

Ins. Co., 227 F.3d 474, 475-76 (5th Cir. 2000) (concluding defendant had permissible purpose to

obtain consumer report for customer whose telephone service account was closed and settled).

Consequently, under Safeco plaintiff does not, and cannot, point to clear statutory language that

would have “warned [Wells Fargo] away” from reviewing the account of its chapter 13

discharged customer. 551 U.S. at 70.

       Second, there are no binding regulations under FCRA that purport to prohibit a creditor

from reviewing the account of a chapter 13 discharged customer. See id. (noting that FTC lacked

rulemaking authority under FCRA); Van Straaten, 678 F.3d at 488. The Complaint comes up

empty here as well.

       Third, plaintiff does not point to any published court of appeals decision that forbids the

review of the account of a chapter 13 discharged debtor. That is because there is no such case.

Rather, numerous courts of appeals have declined to read a bright line rule into the definition of

the word “account” in Section 1681b. See Levine, 554 F.3d at 1318-19; Huertas, 641 F.3d at 32,

34-35; Wilting, 227 F.3d at 475-76. And in Vanamann, the Ninth Circuit ruled that “[t]he plain

text of the Act does not prohibit a mortgage servicer from obtaining a consumer’s credit report

after a bankruptcy court’s discharge of the consumer’s mortgage debt,” and no binding appeals

court has “interpreted the Act to prohibit that practice.” 735 Fed. Appx. at 262. Thus, the Ninth

Circuit ruled as a matter of law that such conduct is not a willful violation of Section 1681b. Id.




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                                       CONCLUSION

       For the reasons set forth above, Wells Fargo respectfully requests that the Court dismiss

the complaint, with prejudice, and without leave to amend.

                                                   Respectfully submitted,

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Dated: June 12, 2019




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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 12, 2019, I filed the foregoing document through the

CM/ECF system which will send notification of such filing to the following counsel of record:

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